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        UNITED STATES DISTRICT COURT
              ---------- DISTRICT OF COLUMBIA -------

                                APPEARANCE PRAECIPE

UNITED STATES OF AMERICA

v.                                                      CASE NO. : 21-05 ABJ

Mark Jefferson Leffingwell
                                            ******

                                NOTICE OF APPEARANCE
To the Clerk of this Court and all parties of record:

         Enter my appearance as CJA counsel in this case for Mark Jefferson Leffingwell
I certify that I am admitted to practice in this court.

                                                                   January 13, 2021

                                                                          /s/
                                                              Mark J. Carroll, Esquire # 414-619
                                                               9520 Reach Road
                                                               Potomac, Md. 20854
                                                               301-762-6453
                                                               301-762-6454 (fax)
                                                                443-421-3475 (cell)
                                                                markjcarroll@hotmail.com
